           Case 3:16-mc-80263-RS Document 49-5 Filed 05/05/17 Page 1 of 34




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                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18

19   IN THE MATTER OF THE SEARCH OF       )   Case No. 3:16-mc-80263-LB
     CONTENT STORED AT PREMISES           )
20   CONTROLLED BY GOOGLE INC. AND        )   REDACTED VERSION OF DOCUMENTS
     FURTHER DESCRIBED IN ATTACHMENT      )
21   A                                    )   ATTACHMENT TO STIPULATION REGARDING
                                          )   REDACTIONS
22                                        )
                                          )   (PART 2 of 5)
23                                        )
                                          )
24                                        )
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     REDACTED VERSION OF DOCUMENTS
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                                                     CERTIFICATE OF AUTHENTICITY

                   I hereby certify:

                   l.         Jam employed by Google Inc, ("Google"), located In Mountain View, Califomla. I am
                   authOl'ized to submit this affidavit on behalf of Google, I have personal knowledge of the
                   following foc!s, excepl as noled, and could testify competently thereto if called as ll witness.

                   2,              Go9gle provides Intemet-based set-vices.

                   3.              Anached is a true and correct co
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                        S2!~!""




                   4.          The file(s) allached hereto is a rncord made and retained by Google. Google servers
                   record this data automatically at the time, or reasonably soon after, It ls entered or transmitted by
                   the \1ser1 and this data Is kept In the course of this regularly conducted activity and was made by
                   regularly conducted activity as a regular practice of Google.

                   5.         Pursuant to 28 U.S.C. § 1746, I declare under penalty of pe1jury that the fore~oing is
                   true and conect to the besl of my knowledge.




                                                                              Date: September 28, 2016
                   (Signature of Records Custodian)



               · (Name of Records Custodian)
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             Via Law E11forceme11J Request System 011/y
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             Special Age1Jt Michael Delaney
             lCE
             Homeland Security Investigations, 630 Sansomc Street, Suite 915
             San Francisco, CA 94111

                      Re: Supplemental Production for Search Warrant dated June 30, 2016 (Google
                      Ref. No. 737303) ·
                          SF02UR16SFOOU

             Dear Special Agent Delaney:




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             selcc ions int e aw ·orcemen eques ys em. e nave also included a signed Certificate of
             Authenticity wbJch includes a. list of hash vallles that correspond to each file contained in the
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             subject to production, if at all, we have redacted such information or removed such data fields.




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                                                              Regards,


                                                              Google Legal Investigations Support
           Case 3:16-mc-80263-RS Document 49-5 Filed 05/05/17 Page 26 of 34




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                                              CERTIFICATE OF AUTHENTICITY

               I hereby certify:

                1,       I am employed by Google Inc, ("Google 11 ) 1 located in Mountain View, California. ram
               auLhodzed to submit this affidavit on behalf of Google. r have personal knowledge of the
               following facts, except as noted, and could testify competently therc,to if called as a witness.

               2.           Google prnvides Internet-based l)ervices.

               3,       Attached is a true mid correct cop
               account-holder s) identified with account s




               4.         The file(s) attached hereto is a 1·eco1·d tnade and retained by Google. Google se1vers
               record this data automatically at the time, 01· reasonably soon after, it is entered or trnnsmitted by
               the user. nnd this data is kept in the course of this regularly conducted activity and was made by
               regularly conducted activity as a regula1· pr11ctice of Google.

               5.         Pul'suant to 28 U.S.C. ij 1746, I decl0.1·e under penalty of perjury that the foregoing Is
               true and correct to the best of my knowledge.




                                                                   Date: November 1.8, 2016
               (Signature ofRecords Custodian)



               (Name ofRecords Custodian)
          Case 3:16-mc-80263-RS Document 49-5 Filed 05/05/17 Page 27 of 34




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